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 In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

**********************
ALAN L. HAYWARD,                         *
                                         *           No. 16-1539V
                    Petitioner,          *           Special Master Christian J. Moran
                                         *
v.                                       *           Filed: February 28, 2023
                                         *
SECRETARY OF HEALTH                      *           Attorneys’ Fees and Costs;
AND HUMAN SERVICES,                      *           Expert Rates
                                         *
                    Respondent.          *
* * * * * * * * * * * * * * * * * * * ** *

Richard H. Moeller, Moore, Heffernan, et al., Sioux City, IA, for Petitioner;
Traci R. Patton, United States Dep’t of Justice, Washington, DC, for Respondent.

PUBLISHED DECISION AWARDING ATTORNEYS’ FEES AND COSTS1


       On February 3, 2022, petitioner Alan Hayward moved for final attorneys’
fees and costs. He is awarded $88,910.39.

                                        *       *       *
       On November 17, 2016, petitioner filed for compensation under the Nation
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10 through 34. The
petition alleged that the influenza vaccine he received on November 20, 2013,

       1
          Because this published decision contains a reasoned explanation for the action in this
case, the undersigned is required to post it on the United States Court of Federal Claims' website
in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This posting means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), the parties have 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
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which is contained in the Vaccine Injury Table, 42 C.F.R. § 100.3(a), caused him
to develop left upper extremity weakness and significant loss of strength in his left
arm and forearm. Once respondent contested entitlement, the parties retained
experts, with petitioner retaining Dr. Lawrence Shields and Dr. Donald Marks
while respondent retained Dr. Timothy Vartanian.
      Petitioner sought an award of attorneys’ fees and costs on an interim basis.
Although attorneys’ fees were awarded, petitioner had not established the
reasonableness of the amount requested for the work of Dr. Shields and Dr. Marks.
Those costs, therefore, were deferred. Interim Fee Decision, 2019 WL 960215
(Feb. 1, 2019).

       To resolve the factual dispute regarding onset of petitioner’s problem in his
left arm, a hearing was held via video conferencing on May 21, 2020, On October
9, 2020, the undersigned issued his fact ruling. 2020 WL 6582184 (Fed. Cl. Spec.
Mstr. Oct. 9, 2020). Thereafter, the parties entered into settlement negotiations and
on November 15, 2021, the parties filed stipulation, which the undersigned adopted
as his decision awarding compensation on the same day. 2021 WL 5827532 (Fed.
Cl. Spec. Mstr. Nov. 15, 2021).

       On February 3, 2022, petitioner filed a lengthy motion for final attorneys’
fees and costs (“Fees App.”). Petitioner requests attorneys’ fees of $57,215.80 and
attorneys’ costs of $68,726.09 for a total request of $125,941.89. Pursuant to
General Order No. 9, petitioner states that he has not personally incurred any costs
or expenses to prosecute the petition in this case. Fees App. Ex. 4. On February 14,
2022, respondent filed a response to petitioner’s motion. Respondent argues that
“[n]either the Vaccine Act nor Vaccine Rule 13 contemplates any role for
respondent in the resolution of a request by a petitioner for an award of attorneys’
fees and costs.” Response at 1. Respondent adds, however that he “is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this
case.” Id at 2. Additionally, he recommends “that the special master exercise his
discretion” when determining a reasonable award for attorneys’ fees and costs. Id.
at 3. Petitioner filed a reply on February 14, 2022, reiterating his belief that the
requested fees and costs are reasonable.

       On September 14, 2022, the undersigned issued an order requesting
respondent address the reasonableness of petitioner’s proposed expert costs.
Respondent filed the requested response on October 19, 2022. The matter is now
ripe for disposition.
                                   *      *       *

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       In this case, because petitioner was awarded compensation pursuant to a
stipulation, he is entitled to a final award of reasonable attorneys’ fees and costs.
42 U.S.C. § 300aa-15(e)(1). Thus, the question at bar is whether the requested
amount is reasonable.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
§15(e). The Federal Circuit has approved the lodestar approach to determine
reasonable attorneys’ fees and costs under the Vaccine Act. This is a two-step
process. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). First, a court determines an “initial estimate … by ‘multiplying the
number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347-48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)).
Second, the court may make an upward or downward departure from the initial
calculation of the fee award based on specific findings. Id. at 1348. Here, because
the lodestar process yields a reasonable result, no additional adjustments are
required. Instead, the analysis focuses on the elements of the lodestar formula, a
reasonable hourly rate and a reasonable number of hours.
       In light of the Secretary’s lack of objection, the undersigned has reviewed
the fee application for its reasonableness. See McIntosh v. Secʼy of Health &
Human Servs., 139 Fed. Cl. 238 (2018)

      A.     Reasonable Hourly Rates

       Under the Vaccine Act, special masters, in general, should use the forum
(District of Columbia) rate in the lodestar calculation. Avera, 515 F.3d at 1349.
There is, however, an exception (the so-called Davis County exception) to this
general rule when the bulk of the work is done outside the District of Columbia
and the attorneys’ rates are substantially lower. Id. 1349 (citing Davis Cty. Solid
Waste Mgmt. and Energy Recovery Special Serv. Dist. v. U.S. Envtl. Prot.
Agency, 169 F.3d 755, 758 (D.C. Cir. 1999)). In this case, all the attorneys’ work
was done outside of the District of Columbia.

       Petitioner requests the following rates for the work of his counsel: for Mr.
Richard Moeller, $285.00 per hour for work performed in 2018, $300.00 per hour
for work performed in 2019, $341.00 per hour for work performed in 2020,
$363.00 per hour for work performed in 2021, and $379.00 per hour for work
performed in 2022; for Ms. Nikki Nobbe, $190.00 per hour for work performed in
2018 and $200.00 per hour for work performed in 2019; and for Ms. Kaitlin
Boettcher, $220.00 per hour for work performed in 2021. These rates are consistent
with what counsel has previously been awarded by the undersigned and other

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special masters, and they shall be awarded herein. See, e.g., Zielinski v. Sec’y of
Health & Human Servs., No. 18-1075V, 2021 WL 1115823, at *3 (Fed. Cl. Spec.
Mstr. Feb. 23, 2021); Hayward v. Sec’y of Health & Human Servs., No. 16-1539V,
2019 WL 960215 (Fed. Cl. Spec. Mstr. Feb. 1, 2019).

      B.     Reasonable Number of Hours
      The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993).
The Secretary also did not directly challenge any of the requested hours as
unreasonable.

       Upon review of the submitted billing records, the undersigned finds that the
majority of the time billed is reasonable. Counsel has done a particularly good job
with the level of detail of the billing entries, which has made it easier for the
undersigned to assess their reasonableness. The only causes for reductions are
some entries by the paralegals for paying for medical records and mailing
documents, which is a clerical/administrative task. Upon review, a reasonable
reduction for these issues is $173.50. Petitioner is therefore awarded final
attorneys’ fees of $57,042.30.

      C.     Costs Incurred

       Like attorneys’ fees, a request for reimbursement of costs must be
reasonable. Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed.
Cl. 1992), aff’d, 33 F.3d 1375 (Fed. Cir. 1994). Petitioner requests a total of
$68,726.09 in costs. Most of this amount ($67,300.00) is comprised of costs related
to the work of petitioner’s two medical experts. Dr. Shields and Dr. Marks. The
remainder of the costs are for acquisition of medical records, and postage. These
routine costs are reasonable and shall be fully reimbursed. The expert costs shall be
discussed in greater detail.
                   I. Overview

      Acting through his attorney Mr. Moeller, Mr. Hayward has retained two
medical doctors as experts. These are Lawrence Shields, a neurologist, and Donald
Marks, a specialist in internal medicine and who has a PhD in microbiology.
Exhibits 19, 21. Dr. Shields and Dr. Marks have billed their work through a series
of invoices, in excess of $100,000. However, Mr. Hayward has proposed a
reasonable award for their services to be $67,300. Pet’r’s Br., filed Feb. 3, 2022, at
36.
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      The Secretary contends that an appropriate award of compensation for both
doctors would total around $15,000.00 – $20,000.00. Resp’t’s Supp’l Br., filed
Oct. 19, 2022, at 2.

                   II. Standards for Adjudication

      Reasonable expert fees are determined using the lodestar method, in which a
reasonable hourly rate is multiplied by a reasonable number of hours. Caves v.
Sec’y of Health & Human Servs., 111 Fed. Cl. 774, 779 (2013). Experts are
expected to list the amount of time they spent on particular activities. See Caves,
111 Fed. Cl. at 781-83; Morse v. Sec’y of Health & Human Servs., 89 Fed. Cl. 683
(2009). Deficiencies in invoices may justify reductions from the amount
requested. See Abbott v. Sec’y of Health & Human Servs., 150 Fed. Cl. 421
(2020) (special master did not abuse his discretion in reducing expert's number of
hours by 10% due to poorly explained activities); Lewis v. Sec’y of Health &
Human Servs., 149 Fed. Cl. 308 (2020) (special master was not arbitrary in
reducing number of expert's hours due to vagueness in invoices).

                   III. Evaluation
      Dr. Shields and Dr. Marks prepared a series of reports and a series of
invoices. The assessment of the reasonableness of their activities proceeds in a
chronological order, beginning with Dr. Shields’s first invoice.

                         a. Dr. Shields’s Pre—Filing Review
      Before Mr. Moeller filed the petition on Mr. Hayward’s behalf in 2016, Mr.
Moeller consulted Dr. Shields. Pet’r’s Br. at 12. Dr. Shields indicates that he
spent 3.5 hours reviewing records, analyzing the case, and conferring with Mr.
Moeller. Dr. Shields has charged $500.00 per hour for his work.
      Mr. Moeller proposes that a reasonable rate for Dr. Shields’s work in 2016 is
$400.00 per hour. Pet’r’s Br. at 24-27. A basis for this reduction includes
previous rulings by special masters, such as Abbott v. Sec’y of Health & Hum.
Servs., No. 14-907V, 2020 WL 8766524, at * 9 (Fed. Cl. Spec. Mstr. Dec. 4, 2020)
and Bell v. Sec’y of Health & Hum. Servs., No. 13-709V, 2017 WL 1034481, at
*3 (Fed. Cl. Spec. Mstr. Jan. 31, 2017).




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      A rate of $400.00 per hour is appropriate for a person with Dr. Shields’s
background and experience.2 Thus, he will be compensated at this rate for his
work before Mr. Moeller submitted the petition.

      Although Dr. Shields could have described his activities with more detailed,
the amount of time he spent reviewing the case on a preliminary basis (3.5 hours)
appears reasonable. Thus, a reasonable compensation for this work is $400.00 per
hour multiplied by 3.5 hours equals $1400.00.
                               b. Other Developments in the Litigation

      The Secretary reviewed the evidence and summarized Mr. Hayward’s
medical history in approximately eleven double-spaced pages. Resp’t’s Rep., filed
June 3, 2017, at 2-12. The Secretary recommended against an award of
compensation due, in part, to the lack of an expert report. Id. at 13.
       To facilitate the submission of expert reports, the undersigned issued a set of
Final Instructions on August 3, 2017. These Instructions advised petitioner’s
experts to divide their tasks by thirty-minute increments. As discussed below,
neither Dr. Shields nor Dr. Marks consistently followed this suggestion. Better
compliance would have minimized disputes and may have resulted in a larger
amount of compensation for Dr. Shields and Dr. Marks.

                               c. First Set of Expert Reports

       Mr. Hayward submitted the initial reports from Dr. Shields and Dr. Marks
on November 3, 2017. Dr. Shields’s report was 76 pages, of which more than fifty
pages concerned facts about Mr. Hayward. Dr. Shields cited more than eighty
articles. Mr. Moeller has reduced the amount requested in compensation as set
forth in the chart.

                     Claims regarding Dr. Shields's First Report
                               Hourly Rate      Number of Hours                           Total
 Dr. Shields's Invoice,
                                 $500.00               198.11                         $99,055.00
 Exhibit 185
 Pet'r's Proposal                $425.00                95.2                          $40,460.00


       2
         This rate will be adjusted for inflation, resulting in an hourly rate of $409.00 per hour
for 2017, $423.00 per hour for 2018, and $450.00 per hour for 2020.

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      Some activities are excessive and/or unreasonable. Examples include the
following:

               Examples of Excessive and Unreasonable Activities
             Date   Event                                      Hours
          7/20/2017 Reading Instructions                         1.5
          7/20/2017 Vaccine Injury Table                         1.5
          7/21/2017 National Vaccine Injury Compensation         1.5
          9/25/2017 Organizing Bibliography                       8


       While the number of entries that are so obviously unreasonable are relatively
few, their presence raises questions about the accuracy of Dr. Shields’s
timekeeping and/or billing practice. Nevertheless, the remainder of his invoice has
been reviewed to determine the reasonableness of the activities.
      Dr. Shields’s first invoice is divided into more than a dozen topics of which
most concern medical issues. Within a given topic, Dr. Shields has recorded how
much time he spent researching the issue, reading medical articles, and writing the
section of his report. See Pet’r’s Br. at 30-32, Exhibit 185. The evaluation is
presented in the following chart:

             Evaluation of Time Charged for Dr. Shield's First Report
                                      Hours
 Report                              Charged Reasonable
                      Topic                                           Notes
 Pages                                  on       Hours
                                     Invoice
                                                               Even 15 hours is a
                                                              relatively long time
           Facts, Reviewing Records,                        for reviewing records
  3-51                               108.00       15.00
                 Physical Exam                                 and writing facts.
                                                            Medical records were
                                                                     quoted.
  51-59      Differential Diagnosis    2.00        2.00
            Cervical Radiculopathy
                 (Not Counting
  61-63           Bibliography,        1.50        1.50
               Organization and
                    Analysis)
                                            7
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  60-61    Thoracic Outlet Syndrome        3.25         2.00
   65        Monophasic Multiplex          9.75         1.50
                                                                   Many articles were
 Unclear         Immunization              7.25         1.00          off topic and
                                                                  duplicates Dr. Marks
                                                                   Reading more than
  65-69            Hirayama               24.11         5.00        30 articles was
                                                                        excessive
               Parsonage-Turner
              Syndrome (including
  69-72                                    8.50         7.50
               lumbro-sacral and
                shoulder disease)
                                                                    An experienced
  59-60             Diabetes              14.50         2.50       neurologist knows
                                                                    about diabetes.
           TOTAL                                        38.00
           Hourly Rate                    $409.00
           Amount Awarded                                                     $15,542.00


        In short, a reasonable amount of compensation for Dr. Shields’s writing his
first report is $15,542.00.
                          d. Dr. Marks’s First Report

       Dr. Marks has a specialty in immunology and his role was to explain how a
vaccine could cause an adverse reaction resulting in a neurologic disease, which
Dr. Shields identified. The retention of two experts was reasonable. See Pet’r’s
Br. at 16-18.

       Mr. Hayward seeks compensation for Dr. Marks’s effort to complete his first
report, which was eighteen pages. Exhibit 20. The proposals for compensation are
as follows:

                 Claims regarding Dr. Marks's First Report
                            Hourly Rate Number of Hours               Total
 Dr. Marks's Invoice,
 Exhibit 188                   $300.00              29              $8,700.00
                                             8
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 Pet'r's Proposal               $300.00               25.5          $7,650.00


      An assessment shows the following reasonable activities.

           Evaluation of Time Charged For Dr. Marks's First Report
                                   Reason-
                            Hours
                                     able
 Activity                    on            Notes
                                   Amount
                           Invoice
                                   of Time
                                           The critical issue from Dr. Shields
                                           was diagnosis and that information
 Time with Dr. Shields       11       2    is readily found by reading his
                                           report. Other activities were not
                                           explained.
                                           Many articles were not relevant.
                                           However, a larger amount of time
 Literature Review            6       5
                                           is awarded due to the relatively
                                           low hourly rate.
 Drafting and "Additional
                               8          7
 Work"
 Work with Counsel             4         4        Concerning but accepted
 Total                                  18
 Hourly Rate                 $300
 Amount Awarded                                                             $5,400


                         e. The Secretary’s Resp.

      After Mr. Hayward submitted the reports from Dr. Shields and Dr. Marks,
the Secretary countered with a report from a single expert, Dr. Vartanian. Dr.
Vartanian’s report is 27 pages (plus additional pages for references), including
sections on Dr. Vartanian’s qualifications and his review of Mr. Hayward’s
medical records. As to Dr. Shields’s assertion that Mr. Hayward suffered from
brachial neuritis, Dr. Vartanian proposed cervical radiculopathy. Exhibit A at 16-
19. With respect to Dr. Marks’s opinion regarding and immune-mediated process,
Dr. Vartanian wrote more pages. See Id. at 19-27. Almost all this section was
about diseases of the central nervous system and peripheral nervous system

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because Dr. Marks had cited articles on those topics in his report. For brachial
neuritis, which is the condition Mr. Hayward alleges the vaccine caused, Dr.
Vartanian discussed two articles. Id. at 19-20.

                          f. Second Set of Expert Reports

      In reply to Dr. Vartanian, Mr. Hayward obtained reports from Dr. Shields
and Dr. Marks. Dr. Shields’s second report was twenty-two single-spaced pages.
Exhibit 130. The associated requests for compensation are presented below.

              Claims regarding Dr. Shields's Second Report
                                              Number of
                             Hourly Rate        Hours        Total
 Dr. Shields's Invoice,
 Exhibit 186                   $500.00          47.5       $23,750.00
 Pet'r's Proposal              $425.00          28.5       $12,112.50


       A review of Dr. Shields’s work product and his invoice indicates that much
of the time claimed was excessive and unreasonable.

          Evaluation of Time Charged For Dr. Shields's Second Report
                                   Reason-
                            Hours
                                     able
                             on            Notes
                                   Amount
                           Invoice
 Activity                          of Time
 Reviewing Dr.                                    Nearly a full work day to review
                               6.5       2
 Vartanian's Report                               one report is unreasonable.
 Reviewing Dr. Shield's                           This is Dr. Shield's own work
                                5        1
 Report                                           product.
 Reviewing Dr. Marks's
                                2        1        The report is not lengthy.
 Report
 Excerpting Medical                               Much of this section is quoting
                               10        4
 Records and Facts                                other materials.
                                                  Dr. Vartanian did not cite many
 Review of Literature           5        1
                                                  articles in disputing diagnosis
 Medical Literature to
                                1        1
 Support
                                             10
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                                                  Description is vague and combines
                                                  many steps into one entry. Most of
 Report, Writing and
                              18        2         pages 12-22 from Dr. Shields's
 Editing
                                                  second report appears copied from
                                                  other material.
 Total                                  12
 Hourly Rate                 $425
 Amount Awarded                                                               $5,100


      The second report from Dr. Marks was written in a relatively colloquial tone
and did not cite any additional medical articles. Its length was three pages.
Exhibit 131.
      The requested compensation for Dr. Marks’s work is:

                  Claims regarding Dr. Marks's Second Report
                               Hourly Rate Number of Hours            Total
 Dr. Marks's Invoice,
 Exhibit 189                     $300.00             25             $7,500.00
 Pet'r's Proposal                $300.00             22             $6,600.00


      Some of the requested hours reflect an excessive and unreasonable amount
of time.

            Evaluation of Time Charged For Dr. Marks's Second Report
                                    Reason-
                             Hours
                                      able
 Activity                      on            Notes
                                    Amount
                            Invoice
                                    of Time
                                             Dr. Vartanian cited few new
 Literature Review            11.5     1
                                             articles.
 Review                         4      1     What was "reviewed" is not clear.
 Reply (assumed to be
                              9.5      5
 drafting)
 Total                                 7
 Hourly Rate                 $300
                                             11
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 Amount Awarded                                                              $2,100


                         g. Finding of Facts

       After the experts submitted their reports, the undersigned held a hearing to
receive testimony from percipient witnesses, who were knowledgeable about the
onset of Mr. Hayward’s shoulder problem. The undersigned resolved questions of
fact. Fact Finding Ruling, issued Oct. 9, 2020. This ruling was eight pages.
                         h. Final Consultation with Dr. Shields

      Mr. Moeller was directed to consult with Dr. Shields to see whether the Fact
Finding Ruling altered his opinion. Dr. Shields presented an invoice claiming 3.75
hours for this task.

      The amount of time requested to review a document fewer than ten pages is
excessive and unreasonable. A reasonable amount of time to review the document
and to consult with Mr. Moeller is two hours. Accordingly, at a rate of $450.00
per hour, a reasonable charge for this activity is $900.00.

            IV. Summary
      The various awards are compiled into this summary chart:

Event                              Amount
Dr. Shields's Pre-Filing Review     $1,400.00
Dr. Shields's First Report         $15,542.00
Dr. Marks's First Report            $5,400.00
Dr. Shields's Second Report         $5,100.00
Dr. Marks's Second Report           $2,100.00
Dr. Shields's Final Consultation     $900.00
TOTAL                              $30,442.00

Dr. Shields's Portion              $22,942.00
Dr. Marks's Portion                 $7,500.00


      The amount awarded (approximately $30,000.00) is less than the amount
that Mr. Moeller proposed (approximately $67,000.00). On the other hand, the

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Secretary argued that a reasonable range was between $15,000.00 and $20,000.00.
While the parties’ respective positions potentially establish a floor and a ceiling,
the analysis does not tightly follow the lodestar methodology. This
methodological flaw is particularly acute for the Secretary as the Secretary
proposed amounts based on past cases without commenting upon either the
proposed hourly rate or, more critically, the proposed number of hours. Such an
approach may not be upheld. See Guerrero v. Sec’y of Health & Hum. Servs., 120
Fed. Cl. 474, 482 (2015) (rejecting an analysis based upon median awards). The
foregoing evaluation does not rely upon a median analysis, but instead followed
the lodestar methodology. The lodestar approach has produced the amount as set
forth above. This finding of an amount somewhere between a petitioner’s number
and the respondent’s number suggests the outcome is roughly just. See Fox v.
Vice, 563 U.S. 836, 838 (2011) (indicating that trial courts may use “rough justice”
in awarding attorneys’ fees).
       Petitioner is therefore awarded final attorneys’ costs of $31,868.09.

       D.      Conclusion
       The Vaccine Act permits an award of reasonable attorney’s fees and costs.
42 U.S.C. § 300aa-15(e). Accordingly, the undersigned awards a lump sum of
$88,910.39 (representing $57,042.30 in attorneys’ fees and $31,868.09 in
attorneys’ costs) as a lump sum in the form of a check jointly payable to petitioner
and Mr. Richard Moeller.
       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.3

               IT IS SO ORDERED.


                                                            s/Christian J. Moran
                                                            Christian J. Moran
                                                            Special Master




       3
          Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a
joint notice renouncing their right to seek review.

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